                                       Case 4:17-cv-05783-HSG              Document 534      Filed 04/01/25     Page 1 of 3




                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          State of California et al.        ,           Case No. 17-cv-05783-HSG
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION
                                                  v.                                        OF ATTORNEY PRO HAC VICE
                                   6
                                                                                            ORDER
                                   7          Health and Human Services et al.,             (CIVIL LOCAL RULE 11-3)
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Michael McMaster             , an active member in good standing of the bar of

                                  11   Colorado                               , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: the State of Colorado              in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Karli Ann Eisenberg               , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         281923

                                  16   1300 Broadway                                         1300 I Street, POB 944255
                                       Denver, CO 80203                                      Sacramento, CA 95814
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   720-508-6484                                         (916) 324-5360
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       michael.mcmaster@coag.gov                            Karli.Eisenberg@doj.ca.gov
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 42368                .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                       Case 4:17-cv-05783-HSG             Document 534        Filed 04/01/25        Page 2 of 3




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 04/01/2025                                             Michael McMaster
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Michael McMaster                        is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated: 4/1/2025

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                                  17
                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
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Case 4:17-cv-05783-HSG       Document 534          Filed 04/01/25        Page 3 of 3




              Certificate of Good Standing
                              United States District Court
                                 District of Colorado

             I, Jeffrey P. Colwell, Clerk of the United States District Court
                                DO HEREBY CERTIFY


                          Michael D. McMaster

                               Admission date: 5/6/2016

                         was admitted to practice in this court
                               and is in good standing.




                  Dated: January 22, 2025
